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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                      :      Crim. No. 3:23-CR-70 (SVN)
                                              :
               v.                             :
                                              :
HAMILTON CLARK SMITH                          :       October 25, 2023


GOVERNMENT’S MOTION IN LIMINIE TO PRECLUDE CERTAIN DEFENSES AND
          ARGUMENT REGARDING MENTAL CONDITIONS

       During a hearing with this Court on October 12, 2023, counsel for the defendant,

Hamilton Clark Smith, suggested that alcoholism and/or claims of traumatic brain injury could

be relevant to one or more defenses at trial. Those suggestions fall well short of what is required

by this Court’s Local Rules, the Federal Rules of Criminal Procedure, and the Federal Rules of

Evidence before a defendant can raise claims of mental diseases, defects, or conditions that could

affect adjudication of guilt or innocence. The lead undersigned Assistant United States Attorney

has requested records related to any mental condition since the initial presentment in this case.

Yet, the defendant has not informed the United States in writing of any mental defect or

condition bearing on the issue of guilt, nor has he filed a formal notice with the Court pursuant to

Federal Rule of Criminal Procedure 12.2 regarding expert testimony about the same. As a result,

this Court should preclude the defendant from raising certain defenses, arguments, and evidence

during trial regarding any mental disease, defect, or condition, including, but not limited to,

claims of intoxication, alcoholism, or traumatic brain injury.

   I. RELEVANT FACTUAL BACKGROUND

       On January 10 and 11, 2023, the defendant sent several violent threats to, among other

things, murder a Deputy United States Marshall and injure his family. Agents from the Federal

Bureau of Investigation arrested him the next day on a criminal complaint. See Criminal Case
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Docket, Entries #1-8. After the Court continued the probable cause hearing, the United States

sought, and a grand jury returned, an indictment charging the defendant with two threat-related

counts on April 25, 2023. Id., Entry 31.

       As it is required to do by Federal Rule of Criminal Procedure 16 and this Court’s Local

Rules and Standing Order on Discovery, the United States produced discovery to counsel for the

defendant both before the grand jury returned the indictment, and after. In addition, counsel for

the United States has invited discussion regarding any mental condition of the defendant on at

least three occasions, including at the time of the defendant’s initial presentment on January 12,

2023, during attempts at plea negotiations, and in a letter earlier this month. For his part, defense

counsel has not provided any discovery related to the defendant’s mental condition, and he has

not provided any written notice that he intends to raise such issues during trial. Nevertheless,

during the Court’s recent hearing on the defendant’s motion for permission to apply for support

court on October 12, 2023, defense counsel suggested that the defendant’s mental condition at

the time of the charged offenses could be an issue at trial.

       After two continuances of the case on this Court’s trial calendar, jury selection is now set

to begin on November 28, 2023. Id., Entry dated July 14, 2023.

   II. APPLICABLE RULES AND ARGUMENT

       Based on counsel’s comments in court on October 12, 2023, it appears that the defendant

may raise issues about his intoxication, alcoholism, traumatic brain injury, or other mental

conditions, diseases, or defects at trial. Those issues are governed by, among other things, this

Court’s Local Rules, Federal Rule of Criminal Procedure 12.2(b), and the Federal Rules of

Evidence.




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       This Court’s Local Rules and Standing Order on Discovery requires, in Section B, the

defendant to produce information within 14 days of receiving the government’s discovery.

Specifically, it reads, with emphasis added:

       (B)(1) Information Subject to Disclosure. Within 14 days after the
       attorney for the government provides the discovery required by Paragraph
       A, defense counsel shall:

       (a) inform the attorney for the government in writing whether the nature of
       the defense is . . . (ii) insanity, mental disease or defect or any other
       mental condition of the defendant bearing on either (A) the issue of guilt .
       ..;

       (b) furnish copies or allow the government to inspect or listen to and
       record items that are impractical to copy, of the following items that are
       within the defendant’s possession, custody or control: . . .

               (ii) results or reports of any physical or mental examinations and of
               any scientific tests or experiments, if the defendant intends to use
               the item in the defendant’s case-in-chief at trial, or intends to call
               the witness who prepared the report and the report relates to the
               witness’s testimony; and

               (iii) a written summary of any testimony that the defendant intends
               to use under Rules 702, 703 or 705 of the Federal Rules of
               Evidence as evidence at trial, if . . . (ii) the defendant has given
               notice under Rule 12.2(b) of an intent to present expert testimony
               on the defendant’s mental condition. This summary must describe
               the witness's opinions, the bases and reasons for those opinions,
               and the witness's qualifications.

       In addition, Federal Rule of Criminal Procedure 12.2(b) requires notice of expert mental-

condition evidence and provides:

       (b) Notice of Expert Evidence of a Mental Condition. If a defendant
       intends to introduce expert evidence relating to a mental disease or defect
       or any other mental condition of the defendant bearing on either (1) the
       issue of guilt . . ., the defendant must—within the time provided for filing
       a pretrial motion or at any later time the court sets—notify an attorney for
       the government in writing of this intention and file a copy of the notice
       with the clerk.




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       The Local Rules and Rule 12.2(b)’s strict notice requirements exist for good reason, as

issues related to a defendant’s mental condition could bear upon competency to stand trial or,

separately, guilt. As such, upon a defendant’s Rule 12.2(b) notice, a court can order competency

or other mental-condition examinations, which will take time to conduct and may be the subject

of pre-trial litigation. See F.R.C.P. 12.2, Advisory Committee Notes (“The objective is to give

the government time to prepare to meet the issue, which will usually require reliance upon expert

testimony. Failure to give advance notice commonly results in the necessity for a continuance in

the middle of a trial, thus unnecessarily delaying the administration of justice.”); see also United

States v. Veatch, 674 F.2d 1217, 1225 (9th Cir. 1981) (“Rule 12.2 is designed to insure that both

the defendant and the Government have ample opportunity to investigate the facts of an issue

critical to the determination of guilt or innocence.” (citation omitted)); Fed. R. Evid. 706

(authorizing the court to appoint expert witnesses). And Rule 12.2(b)’s remedy for a defendant’s

failure to provide notice or submit to such an examination is equally strict. That is, Rule 12.2(d)

enables the court to:

       exclude any expert evidence from the defendant on the issue of the
       defendant’s mental disease, mental defect, or any other mental condition
       bearing on the defendant’s guilt…if the defendant fails to[] give notice
       under Rule 12.2(b)[] or submit to an examination when ordered under
       Rule 12.2(c).”

       Similarly, Rule 16(b)(1)(C) requires a defendant to give the government a written

summary of any testimony that the defendant intends to use under Rules 702, 703, or 705 of the

Federal Rules of Evidence if he has given notice of his intent to present expert testimony

regarding the defendant’s mental condition.

       This Court ordered the parties to file certain substantive pretrial motions by September 5,

2023, see Case Docket Entry dated July 14, 2023, and other pretrial motions by October 25,



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2023, see Instructions for Joint Trial Memorandum (Hon. Sarala V. Nagala), #8 (Motions in

Limine).

       As of the time of this filing on October 25, 2023, the defendant has neither provided

written notice to the United States that he intends to raise any mental-condition or defect issue at

trial, nor has he filed such a notice with the Court. He has not done so despite counsel for the

United States requesting information on the defendant’s mental condition on multiple occasions.

As a result, the defendant should be precluded from raising, referring to, or introducing evidence

about issues related to any purported mental defect or condition during trial, including

intoxication, alcoholism, or traumatic brain injury. See, e.g., United States v. Chen, 131 F.3d 132

(2d Cir. 1997) (explaining that expert evidence related to a traumatic brain injury had to be

noticed pursuant to Rule 12.2 and affirming the district court’s exclusion of such evidence where

no notice was provided); United States v. Cervone, 907 F.2d 332, 346 (2d Cir. 1990) (the theory

of voluntary intoxication to negate specific intent crimes must be noticed under Rule 12.2(b));

United States v. Olson, 576 F.2d 1267, 1273 (8th Cir. 1978) (Rule 12.2 notice of alcoholism

defense was required).

       Even if the defendant were to file a notice now—at this late stage—related to any mental-

condition or defect defense, he must show good cause to warrant a continuance to enable the

government to prepare and respond. See Fed. R. Crim. P. 12.2(b) (a court may extend the

deadline for filing a mental-condition notice “for good cause”); see also Cervone, 907 F.2d at

346 (the burden of showing good cause is on the party seeking a continuance due to late notice

under Rule 12.2(b)). There is no good cause in this case. This case has been pending since

January 2023—over 10 months. That is more than enough time for defense counsel to investigate

any issues related to the defendant’s mental defect or condition, file a simple notice with the



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United States and the Court, and enable a smooth process for the exchange of discovery and any

resulting pretrial litigation. But that did not happen here and the defendant’s failure to provide

written notice to the United States or this Court of a mental disease, condition, or defect defense

should preclude him from such issues, in any form, at trial.

       III.    CONCLUSION

       For the reasons set forth above, the Court should preclude the defendant from raising

defenses, arguments, and evidence related to intoxication, alcoholism, a traumatic brain injury,

or other mental diseases, defects, or conditions at trial.

                                                       Respectfully submitted,

                                                       VANESSA ROBERTS AVERY
                                                       UNITED STATES ATTORNEY

                                                       /s/ Lauren C. Clark
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                                  CERTIFICATE OF SERVICE


       I hereby certify that on October 25, 2023, a copy of the foregoing was filed electronically

with the court and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent to all parties by operation of the court’s electronic filing system. Parties may

access this filing through the court’s system.


                                                 /s/Lauren C. Clark
                                                 LAUREN C. CLARK
                                                 ASSISTANT UNITED STATES ATTORNEY




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